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                        IN THE UNITED STATE DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                 )
                                                 )          Civil Action No. 3:17-cv-03009
GIGI’S CUPCAKES, LLC                             )          Consolidated with:
                                                 )            3:17-cv-3010-B
        Plaintiff,                               )            3:17-cv-3011-B
                                                 )            3:17-cv-3012-B
            v.                                   )            3:17-cv-3013-B
                                                 )            3:17-cv-3014-B
4 BOX, LLC, NIKOLAS PAPPAS, AND                  )            3:17-cv-3015-B
LORAINE PAPPAS                                   )            3:17-cv-3016-B
                                                 )            3:17-cv-3017-B
        Defendants.                              )            3:17-cv-3018-B
                                                 )


          MOTION FOR LEAVE TO ENTER AGREED PROTECTIVE ORDER

       Plaintiff Gigi’s Cupcakes, jointly with Defendants 4 Box LLC, et al, hereby move for leave

for entry of the attached Agreed Protective Order in order to facilitate motion practice. The parties

anticipate the potential exchange of confidential, propriety and sensitive information. In order to

protect the confidentiality of any information exchanged, the parties have agreed to the entry of

the attached protective order. Further, good cause exists to protect any confidential, proprietary

and sensitive information. For these reasons, and pursuant to this Court’s Electronic order dated

February 1, 2018, Plaintiff and Defendants respectfully request the court enter the Agreed

Protective Order.
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Dated: February 26, 2018



Respectfully submitted,


WINSTON & STRAWN LLP                               COHEN, LLC

By:/s/ John C.C. Sanders, Jr.                      By:/s/ Jeffrey Cohen

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on February 26, 2018, to all counsel of record who are deemed to

have consented to electronic service via the Court’s CM/ECF system.




                                              /s/John C.C. Sanders, Jr.________________
                                              John C.C. Sanders, Jr.
